                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                               NORTHERN DIVISION

 SECURITY NATIONAL INSURANCE                     )
 COMPANY,                                        )
                Plaintiff,                       )
                                                 )
        v.                                       )      No. 3:12-cv-00582-TAV-HBG
                                                 )
 HOME FEDERAL BANK, CREATIVE                     )
 CONCEPTS AND DEVELOPMENT, LLC, and              )
 BANCINSURE, INC. ,                              )
                                                 )
                      Defendants.                )


                               NOTICE OF ADDRESS CHANGE

        Comes William R. Meyer and the law firm of Howard, Tate, Sowell, Wilson, Leathers &

 Johnson, PLLC, and gives notice of their new address: 201 Fourth Avenue North, Suite 1900,

 Nashville, Tennessee 37219.

                                          Respectfully submitted,

                                          HOWARD, TATE, SOWELL, WILSON,
                                          LEATHERS & JOHNSON, PLLC

                                          /s/ William R. Meyer
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                                CERTIFICATE OF SERVICE

         I hereby certify that on February 15, 2013,a copy of the foregoing was filed
 electronically. Notice of this filing will be sent by operation of the Court’s electronic filing
 system. All other parties will be served by regular U.S. Mail. Parties may access this filing
 through the Court’s electronic filing system.


                                              /s/ William R. Meyer
                                             William R. Meyer




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